
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and the respondent's Answer.
Claimant seeks $971.84 for elevator repairs performed for Weston State Hospital, a facility of the respondent. The respondent admits the validity and amount of the claim and states that there were sufficient funds in respondent's budget for the appropriate year with which the claim could have been paid; however, the respondent was unable to make payment as the State Auditor returned the transmittal to the respondent with the explanation that the Treasury of the State of West Virginia lacked sufficient funds to process the transmittal.
The Court has reviewed the petition and Answer and finds that the State agency had sufficient funds within its appropriated budget to pay the claim, and, for this reason, the claimant is entitled to an award from the respondent.
In view of the foregoing, the Court makes an award in the amount of $971.84.
Award of $971.84.
